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                     EXHIBIT T
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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                Case No.: 6:22-cv-0047-WWB-RMN

    BETHUNE-COOKMAN UNIVERSITY, INC.,

           Plaintiff,

    v.

    DR. MARY MCLEOD BETHUNE NATIONAL
    ALUMNI ASSOCIATION, INC.; MARY MCLEOD
    BETHUNE NATIONAL ALUMNI ASSOCIATION,
    INC., and JOHNNY L. MCCRAY, JR., Individually,

          Defendants.
    _________________________________/

                             AFFIDAVIT OF KIMBERLY WOODARD

           I, Kimberly Woodard, pursuant to 28 U.S.C. § 1746, declare as follows:

           1.      I am over the age of eighteen and competent to make this Declaration. Unless

    otherwise indicated, I have personal knowledge of each of the facts stated below.

           2.      I reside in the city of Port Orange, in the county of Volusia, in the State of

    Florida.

           3.      If I were called to testify as a witness at trial in this action, I would testify to the

    facts set forth in this Declaration.

           4.      Since October 2021, I have been employed as Executive Director for the Office

    of Alumni Affairs and Development of Bethune-Cookman University, Inc. (“B-CU”). My

    responsibilities in this position include managing B-CU’s official Alumni Association,

    coordinating and communicating with B-CU alumni and various stakeholders at B-CU in an

    effort to foster and maintain strong ties between B-CU and all of its alumni, to build and


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    strengthen the connections between the alumni and B-CU, to help encourage alumni to

    support B-CU and its ongoing mission, including financial support, assisting with recruiting

    new students, fundraising for B-CU, its students, its facilities, events, special projects, to help

    build and maintain a strong sense of community and connection among the alumni and

    between the alumni and B-CU. All of these efforts are intended to help support B-CU and its

    mission, and help maintain and enhance B-CU’s reputation as an institution of higher

    learning and its ranking among its peer institutions. The Alumni Association is located at

    558 Oak Street, Daytona Beach, Florida 32114.

           5.      Except where noted otherwise below, the documents attached hereto are

    generally records that are regularly made or kept by B-CU employees with personal

    knowledge of the facts referenced therein in the ordinary course of B-CU’s business and were

    created at or about the time of the events referenced therein.

           6.      B-CU and its Alumni Association solicit donations and other support from B-

    CU alumni on the internet via the website www.bcualumni.com, as well as on social media,

    direct email and regular mail marketing campaigns, written letters, text messages, and at a

    variety of gatherings, meeting, recruiting events, and school sponsored events. B-CU aims to

    create a lifelong relationship with its alumni to increase student recruitment and fundraising

    and help B-CU further its mission.

           7.      B-CU also operates the Bethune Cookman Alumni Network, which has a

    website located at alumni.cookman.edu.

           8.      B-CU and its Alumni Association offer scholarships to B-CU students, and

    solicit donations from B-CU alumni and the general public to support these scholarships. The


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    Alumni Association also provides professional development services to its students and

    members.

           9.     B-CU and its Alumni Association also offer the opportunity to become a

    member of the Alumni Association through the payment of dues.

           10.    B-CU’s Alumni Association consists of 11 local Chapters, which are located in

    multiple states and currently include more than 1,400 members.

           11.    B-CU and its Alumni Association host various events to engage with B-CU

    alumni and encourage support of the Alumni Association and B-CU, such as social

    networking events, football game watch parties, and football game tailgate parties, banquets,

    and class reunions, online events, alumni conferences, leadership training, fundraising, and

    student recruitment events.

            12.   B-CU made the decision to end its relationship with the corporate Defendants

    and establish its own Alumni Association for several different reasons, briefly summarized

    below. Before B-CU formed its current Alumni Association, it relied heavily upon its

    longtime, historic relationship with the corporate Defendants in this case (then known as the

    B-CU National Alumni Association, or “NAA”) to help manage its alumni affairs. The NAA

    was an entirely separate corporation, distinct from and not owned by B-CU, but at all times

    the NAA coordinated with and worked very closely with B-CU in connection with managing

    the former Alumni Association. B-CU gave its consent and permission for the NAA to make

    use of B-CU’s brand, trademarks, logos, mascot, school colors, images of the school, and

    other similar indicia of affiliation with B-CU, all at the direction and control of B-CU, in the




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    course of working together with the NAA to manage and operate the school’s alumni

    association.

            13.    This type of informal arrangement was typical of many historically Black

    colleges and universities (“HBCU’s”) for many decades. But more recently there has been a

    major trend across HBCU’s to end these historic arrangements and transition to a direct

    support organization (“DSO”), for all of the reasons that B-CU was compelled to end its

    relationship with the corporate Defendants and create its own DSO.

            14.    First, any third-party group raising or collecting funds for B-CU affects an

    important metric for any university, the Alumni Giving Rate. When donations to B-CU are

    made through a third party, rather than directly to B-CU, these indirect donations do not

    count toward B-CU’s Alumni Giving Rate. The Alumni Giving Rate and level of alumni

    engagement generally impact any university in multiple ways. For example, a high Alumni

    Giving Rate helps persuade outside donors to contribute and helps attracts financial grants

    from nonprofits, foundations and government agencies. The Alumni Giving Rate can also

    greatly impact a school’s overall ranking, reputation, brand, and goodwill, affecting its ability

    to attract and recruit students and faculty and improve its overall academic standing. In

    addition, raising and collecting funds directly, rather than through a third-party organization,

    greatly eases many administrative and regulatory burdens, such as accurately tracking a

    donor’s individual donations over their lifetime, accurately recognizing the contribution levels

    of donors over time, providing tax-deductible receipts to donors, and accurately tracking and

    applying restricted donations such as donations limited to scholarships or student financial

    aid. Further, third parties engaging in fundraising or other activities for the benefit of B-CU


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    creates a risk of liability for B-CU. Indeed, my understanding is that the corporate Defendants’

    financial and tax irregularities created risk to B-CU’s reputation and accreditation, and that

    were also factors in the decision to end the relationship. Accreditation agencies demand that

    universities have control and accountability over any fundraising activities as one factor they

    consider in whether a university will maintain its accreditation.

            15.   All of the foregoing reasons factored into B-CU’s decision to end its

    relationship with the corporate Defendants and to create its own, official Alumni Association,

    similar to the trend of many other HBCU’s across the U.S. I am aware that, as with B-CU,

    many other HBCU’s have also encountered substantial difficulties in severing these

    longstanding relationships.

           16.    As part of my job responsibilities for B-CU, I regularly conduct meetings with

    B-CU alumni groups across the country, which are called “Town Halls” or “Meet and

    Greets.” Since November, 2021, I have participated in more than 25 such meetings across

    the state of Florida and several other states. At these meetings, I have met with and talked to

    hundreds of B-CU alumni over more than the past two years.

           17.    At these meetings, one of the topics that continually arises are questions related

    to B-CU’s official alumni association, and its former alumni association, the corporate

    Defendants, now named the Dr. Mary McLeod Bethune National Alumni Association

    and/or the Mary McLeod Bethune National Alumni Association. Over the course of the last

    couple of years, at each of the Town Hall or Meet and Greet gatherings, dozens and dozens

    of B-CU alumni have approached me and asked me questions reflecting their confusion about

    the affiliation or relationship between B-CU and the Defendants. A major part of my job for


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    B-CU since I started has been focused on trying to clear up or minimize the confusion among

    B-CU alumni about the relationship between B-CU, its current, official Alumni Association,

    and the Defendants, its former alumni association. B-CU, originally founded in 1904, has

    many graduates, some of whom are less tech-savvy than younger generations, and thus more

    susceptible to deceptive, misleading or confusing online content in particular. Despite holding

    dozens of Town Hall or Meet and Greet meetings with hundreds of alumni across the country,

    I am still constantly asked questions including the following: Are the Defendants the official

    or authorized alumni association of B-CU? If I donate money to the Defendants will that

    money go to B-CU? Which alumni association is the official association of B-CU? Which

    social event is the official event sponsored by B-CU?

           18.    Since starting in my current position, my staff and I have also personally

    received numerous telephone calls, emails, or text messages from numerous individuals and

    companies expressing confusion or frustration regarding an apparent affiliation between

    Defendants and B-CU. The following are some of the examples of the many instances of

    confusion and frustration that have come to my attention in the ordinary course of my job

    duties for B-CU.

           19.    On August 29, 2022, I received a call from an alumnus of the University, Ms.

    Felicia Armstrong, wherein Ms. Armstrong expressed frustration regarding an advertisement

    by an alumni group on a local radio station about a yacht party. A contemporaneous email

    describing this interaction is attached as Exhibit 1.

           20.    On November 30, 2022, I received a telephone call from an alumnus of B-CU

    indicating that they donated to Defendants’ “Giving Tuesday” fundraising campaign, in the


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    mistaken belief that they were donating to B-CU’s “Giving Tuesday” campaign.                   A

    contemporaneous email describing this interaction is attached as Exhibit 2.

           21.     On or about November 30, 2022, I was contacted by an alumnus of the

    University expressing confusion about whether Defendants’ “Giving Tuesday” fundraising

    campaign was the same as the University’s campaign. A contemporaneous email describing

    this interaction is attached as Exhibit 3.

           22.     On December 7, 2022, I received the email attached as Exhibit 4. The email

    was sent to B-CU from foundation@allstate.com, and was requesting information from

    “National Alumni Association of Bethune Cookman College Inc.” regarding a request to add

    the organization to a database of organizations supported by Allstate and The Allstate

    Foundation programs. On information and belief, the name “National Alumni Association

    of Bethune Cookman College Inc.” is the former name of Defendant Dr. Mary McLeod

    Bethune National Alumni Association, Inc.

           23.     In or about March, 2023, I received several telephone calls from B-CU alumni

    asking me if B-CU had selected a new President. I informed these individuals that B-CU had

    not selected a new president at this time, and in fact the search for a new President is ongoing.

    These individuals informed me that they had seen some type of announcement or publication

    that indicated that B-CU had a new President. I later learned that Defendant, Mr. Johnny

    McCray, Jr., Esq., had sent out an email to thousands of B-CU alumni that falsely identified

    himself as “President, Bethune-Cookman University.” A copy of this letter is attached hereto

    as Exhibit 5. I also learned that the Defendants had posted this letter on the home page of




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    their website in 2023, and that Defendants did not remove this letter from their website until

    sometime in August, 2023.

           24.    On or about July 12, 2023, I became aware of a directory of alumni associations

    associated with historically Black colleges and universities (“HBCUs”), wherein Defendants

    were incorrectly identified as the official alumni association of the University. A copy of this

    directory is attached as Exhibit 6.

           25.    On August 12, 2023, I received an email from my team member, Mr. Sean Lyn,

    B-CU’s Director of Alumni Affairs, Pre-Alumni Council Advisor, regarding an email he

    received from Ms. Emma Dornath, the Convention Services & Catering Manager at the

    Rosen Shingle Creek hotel in Orlando, Florida, wherein Ms. Dornath inquired about an

    inquiry from an “affiliate group” of B-CU relating to a “BCU Alumni Gathering” at the hotel.

    On information and belief, the “affiliate group” is the Defendant, Dr. Mary McLeod Bethune

    National Alumni Association. The correspondence is attached as Exhibit 7.

           26.    On April 4, 2022, I received a message via web chat from Seanta Jones, stating

    “[i]n all honesty, I am so confused with the whole alumni association. Just explain in laymen

    term the difference between the two organizations. Also is the old alumni association is still

    going to be active along with the new association. Thank you.” A copy of this message is

    attached as composite Exhibit 8.

           27.    On October 30, 2022 I received a message via web chat from Monifa Madison,

    stating “I am so confused regarding these alumni associations. This is really sad. I am unsure

    if I belong to this alumni association or the other one. Thank you for your assistance with

    this matter.” A copy of this message is attached as composite Exhibit 9.


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           28.    On April 13, 2022 I received a message via web chat from Merlyn Williams,

    stating “[a]t this point I am very confused. Which one represent the alumni of BCU? Are we

    still the BCU Alumni or has it changed to MBB Alumni.” A copy of this message is attached

    as composite Exhibit 10.

           29.    On information and belief, B-CU alumni were being told by Defendants that

    the University did not want them on campus or to wear any clothing bearing B-CU’s

    trademarks and logos. This is not true.

           30.    On numerous occasions, an individual who thought they had donated money

    to B-CU contacted me to inquire about not receiving a receipt for their tax-deductible

    donation. Upon searching B-CU’s records, it became apparent that these individuals had not

    made any donation directly to B-CU, and instead had mistakenly donated money to

    Defendants.

           31.    This results in donors expressing frustration with B-CU that donations they

    believed were going to the University are not placing them in an increased donor class level

    or being recognized in any way by the University.

           32.    Defendants also regularly host events that mirror official events sponsored by

    the University. Advertisements for these events deceptively appear to be official University

    events when they are not. Examples of Defendants’ mirroring the University’s official events

    are attached as Exhibit 11. My team has received numerous inquiries from B-CU alumni

    about whether the events held by the Defendants are official B-CU events.

           33.    In my view, the widespread confusion among B-CU alumni noted above will

    not come to an end as long as the Defendants continue to use B-CU’s trademarks and logos,


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    continue to call themselves an “alumni association,” continue to use Dr. Bethune’s name in

    the name of their organization, and continue to use B-CU’s school colors, mascot, and the

    black rose symbol associated with Dr. Bethune, on their website, social media content and in

    their other marketing and promotional materials.



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                      EXHIBIT 2
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                      EXHIBIT 5
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                     Visit our Website To Donate




                         MMBNAA | PO BOX, Daytona Beach, FL 32120

                                Unsubscribe info@naabcu.org

                            Update Profile |Constant Contact Data
                                            Notice

                          Sent byjmccray@mmbnaa.orgpowered by




                                 Try email marketing for free today!
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                      EXHIBIT 7
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From:                             Kimberly Woodard <woodardk@cookman.edu>
Sent:                             Tuesday, August 22, 2023 12:15 PM
To:                               Valencia Stubbs; Kimberly Woodard
Cc:                               Anderson, Stephen G. (OfCnl-ORL-IP-Tech); Castro, Paula (LSS-Orl-LT); Herbert, Gregory
                                  W. (Shld-Orl-LT-IP)
Subject:                          Fwd: Florida Classic Weekend - Bethune-Cookman - Rosen Shingle Creek (88075)


*EXTERNAL TO GT*



---------- Forwarded message ---------
From: Sean Lyn <lyns@cookman.edu>
Date: Sat, Aug 12, 2023 at 11:21 AM
Subject: Fwd: Florida Classic Weekend - Bethune-Cookman - Rosen Shingle Creek (88075)
To: Kimberly Woodard <woodardk@cookman.edu>



---------- Forwarded message ---------
From: Sean Lyn <lyns@cookman.edu>
Date: Sat, Aug 12, 2023 at 11:17 AM
Subject: Re: Florida Classic Weekend - Bethune-Cookman - Rosen Shingle Creek (88075)
To: Emma Dornath <EDornath@rosenshinglecreek.com>


Good Afternoon Emma,

Thank you so much for reaching out! Please allow me to look into this further as I am not familiar with the name
provided below.

Also, we are advising all B-CU alumni to use our official Room block link that we received from the Rosen Shingle Creek
to book and reserve rooms.

The request below seems to be in direct conflict with our room blocks along with our events which will be held at the
hotel on Friday and Saturday for our guests.

Again, I thank you so much for bringing this to my attention and I will look into this matter further and update you soon!

Should you have any other requests similar to this please let me know.



On Sat, Aug 12, 2023 at 11:06 AM Emma Dornath <EDornath@rosenshinglecreek.com> wrote:

 Good afternoon Sean,



                                                            1



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 I hope you are doing well! I wanted to connect with you as I received an inquiry from an affiliate group in conjunction
 with the program this November. Please see below details and let me know if this would be approved to host on
 property at the hotel and/or if you have any questions.



 Keiana Long Hargett

 386-301-8661

 Meeting Space and Guestrooms

 BCU Alumni Gathering

 *first time the event is happening



 30 Room Nights on both Friday, 11/17 and Saturday, 11/18.

 Meeting space needed on Friday, 11/17.

 Estimated 125 attendees.



 Thank you in advance,




 Emma Dornath
 *Upcoming Out of Office: 8/25-9/1

 Convention Services & Catering Manager

 Rosen Shingle Creek | Convention Services

 Office Phone: 407.996.8504

 Email: edornath@rosenshinglecreek.com

 9939 Universal Boulevard, Orlando, FL 32819




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Respectfully,


Sean Lyn
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                                                                                                                  BCU003212
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                               Sean Lyn
                               Director of Alumni Affairs
                               Pre-Alumni Council Advisor
                               Bethune-Cookman University
                               Office of Alumni Affairs and Development
                               O: 386-481-2928
                               www.bcualumni.com
                               Make An Online Gift




--

Respectfully,


Sean Lyn

                               Sean Lyn
                               Director of Alumni Affairs
                               Pre-Alumni Council Advisor
                               Bethune-Cookman University
                               Office of Alumni Affairs and Development
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--
K. Woodard
(386) 481-2829




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